               Case: 3:08-cr-00304-JGC Doc #: 323 Filed: 09/29/09 1 of 6. PageID #: 3089
AO 245B (Rev. 6/05) Sheet 1 - Judgment in a Criminal Case



                                    United States District Court
                                                Northern District of Ohio

          UNITED STATES OF AMERICA                                   JUDGMENT IN A CRIMINAL CASE
                     v.
                 Norman Wise                                         Case Number:                3:08cr304-09

                                                                     USM Number:                 07585-060

                                                                     John McMahon
                                                                     Defendant’s Attorney

THE DEFENDANT:
[U]      pleaded guilty to counts: 1, 6 and 7 of the Indictment .


         The defendant is adjudicated guilty of these offense(s):

Title & Section                     Nature of Offense                                   Offense Ended              Count
21 USC 841(a)(1) and 846         Conspiracy to possess with Intent to Distribute            8/8/08                   1
                                    cocaine, heroin and marijuana
21 USC 843(b)                    Unlawful use of communications facility                       8/07                 6-7


       The defendant is sentenced as provided in pages 2 through 6 of this judgment. The sentence is imposed
pursuant to the Sentencing Reform Act of 1984.


        IT IS ORDERED that the defendant shall notify the United States Attorney for this district within 30 days of any
change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this
judgment are fully paid. If ordered to pay restitution, the defendant must notify the court and the United States Attorney of
material changes in the defendant’s economic circumstances.

                                                                                    September 28, 2009
                                                                               Date of Imposition of Judgment


                                                                                        s/ James G. Carr
                                                                                   Signature of Judicial Officer


                                                                    JAMES G. CARR, United States Chief District Judge
                                                                            Name & Title of Judicial Officer


                                                                                      September 29, 2009
                                                                                            Date
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AO 245B (Rev. 6/05) Sheet 2 - Imprisonment
CASE NUMBER:                3:08cr304-09                                                                 Judgment - Page 2 of 6
DEFENDANT:                  Norman Wise


                                                         IMPRISONMENT
         The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
total term of 46 months as to each count, to be served concurrently. .

The defendant shall participate in the Bureau of Prison’s Substance Abuse Treatment Program. The defendant shall
participate in the Bureau of Prison’s Residential Substance Abuse Treatment Program. The defendant shall participate in
a mental health evaluation and/or mental health counseling at the direction of the Bureau of Prisons.

[X ]     The court makes the following recommendations to the Bureau of Prisons: Milan, Michigan.



[]       The defendant is remanded to the custody of the United States Marshal.


[]       The defendant shall surrender to the United States Marshal for this district.
         [ ] at     on     .
         [ ] as notified by the United States Marshal.


[U]      The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
         [ ] before 2:00 p.m. on .
         [U] as notified by the United States Marshal.
         [ ] as notified by the Probation or Pretrial Services Office.

                                                                RETURN
I have executed this judgment as follows:




         Defendant delivered on                                      to

at                                           , with a certified copy of this judgment.



                                                                                              UNITED STATES MARSHAL


                                                                                         By
                                                                                                 Deputy U.S. Marshal
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AO 245B (Rev. 6/05) Sheet 3 - Supervised Release
CASE NUMBER:                3:08cr304-09                                                                                  Judgment - Page 3 of 6
DEFENDANT:                  Norman Wise


                                                   SUPERVISED RELEASE
        Upon release from imprisonment, the defendant shall be on supervised release for a term of 5 years to Count 1; 1 year as to
Counts 6 & 7, all to be served concurrently .


The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release from the
custody of the Bureau of Prisons.

The defendant shall refrain from any unlawful use of a controlled substance and submit to one drug test within 15 days of the
commencement of supervision and to at least two periodic drug tests thereafter, as determined by the pretrial services and probation
officer.

While on supervision, the defendant shall not commit another federal, state, or local crime, shall not illegally possess a controlled
substance, shall comply with the standard conditions that have been adopted by this Court, and shall comply with the following
additional conditions:

[]       The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
         future substance abuse. (Check, if applicable.)
[U]      The defendant shall not possess a firearm, destructive device, or any dangerous weapon. (Check, if applicable.)
[U]      The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)
[]       Pursuant to 18 U.S.C. § 3563, the defendant is required to register under the Sex Offender Registration and Notification Act,
         and must comply with the requirements of that Act as directed by the probation officer. (Check, if applicable.)

         Pursuant to the Adam Walsh Child Protection Act of 2006, the defendant will keep the registration current in each jurisdiction in
         which he resides, is employed, or is a student. The defendant shall, no later than three business days after each change in
         name, residence, employment or student status, appear in person in at least one jurisdiction in which he is registered and
         inform that jurisdiction of all changes in reporting information, Failure to do so may be a violation of his conditions of
         supervised release and may be a new federal offense punishable by up to ten years.
[]       The defendant shall enter an adult program and work toward a Certificate of General Educational Development (GED) at the
         discretion of the U.S. Pretrial Services and Probation Officer. (Check, if applicable.)

If this judgment imposes a fine or restitution, it is a condition of supervised release that the defendant pay in accordance with the
Schedule of Payments sheet of this judgment.

The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional conditions
on the attached page.

                                 STANDARD CONDITIONS OF SUPERVISION
1)    the defendant shall not leave the judicial district without permission of the court or probation officer;
2)    the defendant shall report to the probation officer and shall submit a truthful and complete written report within the first five days of
      each month;
3)    the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
4)    the defendant shall support his or her dependants and meet other family responsibilities;
5)    the defendant shall comply with the Northern District of Ohio Offender Employment Policy which may include participation in
      training, education, counseling, and/or daily job search as directed by the pretrial services and probation officer. If not in
      compliance with the condition of supervision requiring full-time employment at a lawful occupation, the defendant may be directed
      to perform up to 20 hours of community service per week until employed, as approved or directed by the pretrial services and
      probation officer.
6)    the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
7)    the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
      controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
8)    the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
9)    the defendant shall not associate with any persons engaged in criminal activity, and shall not associate with any person convicted
      of a felony unless granted permission to do so by the probation officer;
10)   the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of
      any contraband observed in plain view of the probation officer;
11)   the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement
      officer;
12)   the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
      permission of the court;
13)   as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant's
      criminal record or personal history or characteristics, and shall permit the probation officer to make such notifications and to
      confirm the defendant's compliance with such notification requirement.
               Case: 3:08-cr-00304-JGC Doc #: 323 Filed: 09/29/09 4 of 6. PageID #: 3092
AO 245B (Rev. 6/05) Sheet 4 - Supervised Release
CASE NUMBER:               3:08cr304-09                                                            Judgment - Page 4 of 6
DEFENDANT:                 Norman Wise


                          SPECIAL CONDITIONS OF SUPERVISED RELEASE
The defendant shall provide the probation officer access to all requested financial information.

The defendant shall not incur new credit charges or open additional lines of credit without the approval of the
probation officer.

The defendant shall participate in an approved program of outpatient, inpatient or detoxification substance
abuse treatment, which will include drug and alcohol testing to determine if the defendant has reverted to
substance abuse.

The defendant shall participate in an outpatient mental health treatment program as directed by the probation
officer.

The defendant shall submit his person, residence, place of business, computer, and/or vehicle to a warrantless
search, conducted and controlled by the U.S. Pretrial Services and Probation Office at a reasonable time and
in a reasonable manner, based upon reasonable suspicion of contraband or evidence of a violation of a
condition of release. Failure to submit to a search may be grounds for revocation. The defendant shall inform
any other residents that the premises, and his/her computer, may be subject to a search pursuant to this
condition.
                Case: 3:08-cr-00304-JGC Doc #: 323 Filed: 09/29/09 5 of 6. PageID #: 3093
AO 245B (Rev. 6/05) Sheet 5 - Criminal Monetary Penalties
CASE NUMBER:                  3:08cr304-09                                                                                        Judgment - Page 5 of 6
DEFENDANT:                    Norman Wise


                                        CRIMINAL MONETARY PENALTIES
     The defendant must pay the total criminal monetary penalties under the Schedule of Payments on Sheet 6.

                                                     Assessment                            Fine                       Restitution
      Totals:                                         $ 300.00                             N/A                          N/A



[]    The determination of restitution is deferred until . An amended Judgment in a Criminal Case (AO 245C) will be
      entered after such determination.

[]    The defendant must make restitution (including community restitution) to the following payees in the amounts listed
      below.

      If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment unless
      specified otherwise in the priority order of percentage payment column below. However, pursuant to 18 U.S.C. §
      3664(i), all nonfederal victims must be paid before the United States is paid.

                                                         *Total
Name of Payee                                             Loss                   Restitution Ordered           Priority or Percentage

      TOTALS:                                            $                                $


[]    Restitution amount ordered pursuant to plea agreement $

[]    The defendant must pay interest on restitution and a fine of more than $2500, unless the restitution or fine is paid in
      full before the fifteenth day after the date of judgment, pursuant to 18 U.S.C. §3612(f). All of the payment options on
      Sheet 6 may be subject to penalties for delinquency and default, pursuant to 18 U.S.C. §3612(g).

[ ] The court determined that the defendant does not have the ability to pay interest and it is ordered that:

      [ ] The interest requirement is waived for the              [] fine      [] restitution.

      [ ] The interest requirement for the            [] fine      [] restitution is modified as follows:




* Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses committed on or after
September 13, 1994 but before April 23, 1996.
                Case: 3:08-cr-00304-JGC Doc #: 323 Filed: 09/29/09 6 of 6. PageID #: 3094
AO 245B (Rev. 6/05) Sheet 6 - Criminal Monetary Penalties
CASE NUMBER:                 3:08cr304-09                                                                                   Judgment - Page 6 of 6
DEFENDANT:                   Norman Wise

                                                SCHEDULE OF PAYMENTS
     Having assessed the defendant’s ability to pay, payment of the total criminal monetary penalties are due as follows:

A    []    Lump sum payment of $ due immediately, balance due

           [ ] not later than or
           [ ] in accordance with        [ ] C,     [ ] D, [ ] E, or     [ ] F below; or

B    []    Payment to begin immediately (may be combined with                  [] C        [ ] D, or    [ ] F below); or

C    []    Payment in equal installments of $ over a period of , to commence days after the date of this judgment; or

D    []    Payment in equal installments of $ over a period of , to commence days after release from imprisonment to a
           term of supervision; or

E    []    Payment during the term of supervised release will commence within (e.g., 30 or 60 days) after release from
           imprisonment. The Court will set the payment plan based on an assessment of the defendant's ability to pay at
           that time; or

F    [U] Special instructions regarding the payment of criminal monetary penalties:

     [U] A special assessment of $300.00 is due in full immediately as to counts 1, 6 & 7.
         PAYMENT IS TO BE MADE PAYABLE AND SENT TO THE CLERK, U.S. DISTRICT COURT

     []    After the defendant is release from imprisonment, and within 30 days of the commencement of the term of
           supervised release, the probation officer shall recommend a revised payment schedule to the Court to satisfy
           any unpaid balance of the restitution. The Court will enter an order establishing a schedule of payments.

Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary
penalties is due during imprisonment. All criminal penalties, except those payments made through the Federal Bureau of
Prisons' Inmate Financial Responsibility Program, are made to the Clerk of the Court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.

[]   Joint and Several (Defendant name, Case Number, Total Amount, Joint and Several Amount and corresponding
     payee):

[]   The defendant shall pay the cost of prosecution.
[]   The defendant shall pay the following court cost(s):

[]   The defendant shall forfeit the defendant's interest in the following property to the United States:




Payments shall be applied in the following order: (1) assessment; (2) restitution principal; (3) restitution interest; (4) fine principal; (5)
fine interest; (6) community restitution; (7) penalties; and (8) costs, including cost of prosecution and court costs.
